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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                      Criminal No. 20-203 (PAM/KMM)


United States of America,

                          Plaintiff,                MOTION TO SUPPRESS
                                                    EVIDENCE OBTAINED
v.                                                  IN VIOLATION OF THE
                                                    FOURTH AMENDMENT
Francisco Manuel Rodriguez Valenzuela,

                          Defendant.


     Defendant Francisco Manuel Rodriguez Valenzuela, by and through his

attorney, Steven J. Wright, moves the Court under Rule 12 of the Federal Rules of

Criminal Procedure for an order suppressing all evidence obtained as a result of

a traffic stop occurring on August 23, 2020. This stop, based largely on a 911 call,

was made without reasonable suspicion of criminal activity and was therefore

unjustified under the Fourth Amendment. Defendant also challenges the

subsequent search of the vehicle, which was conducted with neither warrant nor

probable cause, and was similarly in violation of rights guaranteed by the Fourth

Amendment. Defendant asks that the fruits of the unconstitutional stop and

search be suppressed.
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   This motion is based on the indictment, records, and files in this matter, and

on any and all other matters that may be presented prior to or at the time of the

hearing on this motion.



                                      Respectfully submitted,

Dated: October 13, 2020               /s/ Steven J. Wright
                                      Minnesota Attorney #387336
                                      331 Second Ave South, Ste 705
                                      Minneapolis, MN 55401
                                      (612) 669-8280


                                      Attorney for Defendant




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